Case 3:10-cv-05919-RBL Document 1-1 Filed 12/20/10 Page 1 of 6
Case 3:10-cv-05919-RBL Document 1-1 Filed 12/20/10 Page 2 of 6
Case 3:10-cv-05919-RBL Document 1-1 Filed 12/20/10 Page 3 of 6
Case 3:10-cv-05919-RBL Document 1-1 Filed 12/20/10 Page 4 of 6
Case 3:10-cv-05919-RBL Document 1-1 Filed 12/20/10 Page 5 of 6
Case 3:10-cv-05919-RBL Document 1-1 Filed 12/20/10 Page 6 of 6
